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 1                                UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3    THOMAS W. CURTIS,                                          Case No. 2:21-cv-01610-GMN-EJY

 4                   Plaintiff,
                                                                               ORDER
 5           v.

 6    HWANGS LAW GROUP,

 7                   Defendant.

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 9   I.     DISCUSSION
10          Plaintiff is no longer located at the address on file with the Court (see ECF Nos. 4, 5) and
11   has failed to provide an updated address as required by U.S. District Court of Nevada Local Rule of
12   Practice IA 3-1. The Rule requires that a “pro se party must immediately file with the court written
13   notification of any change of mailing address, email address, telephone number, or facsimile number.
14   The notification must include proof of service on each opposing party or the party’s attorney. Failure
15   to comply with this rule may result in the dismissal of the action, entry of default judgment, or other
16   sanctions as deemed appropriate by the court.” LR IA 3-1.
17   II.    ORDER
18          For the foregoing reasons, IT IS HEREBY ORDERED that Plaintiff shall file an updated
19   address with the Clerk of the Court by Thursday, October 29, 2021.
20          IT IS FURTHER ORDERED that Plaintiff’s failure to comply with this Order will result in
21   a recommendation to dismiss this case without prejudice.
22          Dated this 29th day of September, 2021.
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                                                   ELAYNA J. YOUCHAH
25                                                 UNITED STATES MAGISTRATE JUDGE
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